>

CONFIDENTIAL - PRODUCED PURSUANT TO PROTECTIVE ORDER

 

 

 

 

 

 

BEFORE THE ARBITRATOR
HONORABLE WILLIAM H. FREEMAN

MATTHEW J. LACEY & WIFE, )
MELISSA A. LACEY, a/k/a )
MELISSA A. HEINZE a/k/a )
MELISSA A, SMITH, )

)

Plaintiffs, )
} DEFENDANTS EMC MORTGAGE
VS. ) CORPORATION AND BANK OF

) AMERICA, NATIONAL
EMC MORTGAGE CORPORATION, ) ASSOCIATION’S MOTION TO
a Delaware Corporation; ) ENFORCE SETTLEMENT
BANK OF AMERICA, NATIONAL  ) AGREEMENT
ASSOCIATION, as successor by )
wnerger to LaSalle Bank National )
Association, as (Trustee) for certificate )
holders of Beat Stearns Asset) Backed )
Securities, Inc., Asset Backed )
Certificates, Series 2004-1 (Holder) ) EXHIBIT
DAVID A. SIMPSON, (Substitute )
Trustee); )
DOES 1 THROUGH 100, inclusive, }

)

Defendants. )

 

NOW COME defendants EMC Mortgage Corporation and Bank of America,
National Association, as successor by merger to LaSalle Bank National Association, as
(Trustee) for certificate holders of Bear Stearns Asset Backed Securities, Inc., Asset
Backed Certificates, Series 2004-1 (Holder} (collectively the “Defendants”), through
counsel, and move the Arbitrator to enter an Order enforcing the settlement agreement
reached between the Defendants and Plaintiffs. In support of this Motion, Defendants

state as follows:

L. On October 1, 2012, the Plaintiffs and Defendants (collectively the

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" “Parties”) participated in a mediated settlement conference. During the mediation the
Parties agreed that this matter could be settled if (1) Defendants would agree to pay
Plaintiffs $100,000 and release the Plaintiffs from the outstanding balance due and owing
by Plaintiffs on the promissory note at issue in this matter; and (2) the Parties could agree
on the other non-payment terms of a settlement agreement. (See emails attached hereto
as Exhibit A).

2. During the time that Defendants were considering whether or not they
would agree to pay $100,000 and give the requested release, counsel for Plaintiffs
requested a draft settlement agreement to review. (See email attached hereto as Exhibit
B). As requested, a draft settlement agreement was provided by counsel for Defendants.

3. On or about October 22, 2012, counsel for Defendants informed counsel for
Plaintiffs that Defendants would agree to pay $100,000 and give the requested release
and, at that time, counsel for the Parties began working out the remaining terms of the

«written settlement agreement. (See emails attached hereto as Exhibit C),

4, As indicated by the email from counsel for Plaintiffs on October 26, 2012,
(see Exhibit C), the only term of the written settlement agreement retaining to be agreed
upon by the Parties at that time was the timing of the dismissal that was to be filed. On
October 31, 2012, counsel for Defendants informed counsel for Plaintiffs that Defendants
agreed on the Plaintiffs’ proposed timing of the dismissal and sent a final version of the
setilement agreement to counsel for Plaintiffs for execution. Gee email attached hereto
as Exhibit D and final version of the setilement agreement attached hereto as Exhibit E).

‘At that point, all the terms of the settlement had been, agreed upon and such terms are set

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forth in the final version of the settlement agreement that is attached hereto as Exhibit E.
5, On November 13, 2012, counsel for Plaintiffs sent an email to counsel for
Defendants apologizing for the delay in having the final settlement agreement executed
by Plaintiffs, and explaining that Plaintiffs’ travel schedule has made is difficult to get it
signed. (See email attached hereto as Exhibit F). ‘Thereafter, counsel for Plaintiffs also

assured counsel for Defendants that the Plaintiffs had agreed to sign the settlement

agreement.

6. As of the date of this Motion, Plaintiffs have still failed to sign the
settlement agreement.

7. Defendants have been. and are ready and willing to perform their
obligations under the settlement agreement in the method and manner outlined in the

final version of the settlement agreement that is attached hereto as Exhibit E.

8. The Parties came to a meeting of the minds on all of the terms of the
settlement agreement, which are set forth in the final version of the settlement agreement
that is attached hereto as Exhibit E. Therefore, the settlement agreeraent should be

enforced and Plaintiffs should be required to execute and comply with.all of their

obligations under the settlement agreement.

WHEREFORE, Defendants respectfully request that the Arbitrator enter an Order
enforcing the settlement agreement, requiring that this matter be completely disposed of

pursuant to the terms of the settlement agreement attached hereto as Exhibit E, and
requiring the Plaintiffs to execute and comply with all of fheir agreements and obligations

under the settlement agreement.

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Respectfully submitted this the 6" day of June, 2013.

/s/ Andrew A. Freeman

ALAN M. RULEY

N.C. State Bar No. 16407
Andrew A. Freeman

NO. State Bar No. 41248

BELL, DAVIS & PITT, P.A.

100 North Cherry Street, Suite 600
Post Office Box 21029
Winston-Salem, NC 27120-1029
Telephone: 336/722-3700
Facsimile: — 336/772-8153

Email: aruley@belldavispitt.com

 afreeman@belldavispittcom.

ATTORNEYS FOR DEFENDANTS EMC
MORTGAGE CORPORATION AND
BANK OF AMERICA, NATIONAL
ASSOCIATION

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CERTIFICATE OF SERVICE

[hereby certify that on the 6" day of June, 2013, I served by email and U.S, Mail

the foregoing pleading on:

- Travis E. Collum

travis(@collmmlaw.com

Stacy L, Williams

$ns763(@aol.com

P.O. Box 1739
Mooresville, NC 28115
Attorneys for Plaintiff

Honorable Wiliam Freeman
wheeman@triad r.com

701 Rostyn Re.
Winston-Salem, NC 27104
Arbitrator ‘

 

-/s/ Andrew A. Freeman
ANDREW A, FREEMAN
N.C, State Bar No, 41248

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Freeman, Andrew A

 

From: Stacy Willams IStacy@oollumperry, com]
Sent: Monday, October 15, 2012 4:43 PM

To: Freeman, Andrew A; William H, Freeman
Ge: Ruley, Alan M.; Travis Collum

Subject: . RE: Lacey v. EMC

Andrew:

Thank you for the update. What else is being considered other than the $100,000? It has been 15 days since we
mediated this claim. We do not understand what is taking so Jong. If no decision has been made within the next day or
so then we want to set an immediate arbitration date and move forward.

This is exactly what we expected so that is why we wanted the dates for performance set at the mediation. If we are
able to rnove forward in accordance with the terms as agreed upon at the mediation then we think that it would be in
the best Interest of our clients for us to agree on the language in the settlement agreement and then have you forward

the check and the agreement together,
client sign a release and then have them refuse to send the settlement proceeds or release the Ilen. Thank you for your

assistance.

Stacy L. Willlams
Of-Counsel

 

 

 

 

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used, for the purpose of (f} avoiding penaliles under the intemal Revenue Code or (2) promoiing, marketing or recommending any transaction or matier addressed

in this comrmunicafion,

 

From: Freeman, Andrew A. [mallto:AFreeman@belldavispitt.com]
Sent: Monday, October 15, 2012 4:24 PM

To: Stacy Willlams; William H. Freeman

Cex Ruley, Alan M.; Travis Collum

Subject: RE: Lacey v. EMC

Stacy:

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We do not trust EMC and have no idea what would keep them from having our _

 

 

 

 
We h@OF A DIES ABIAL cong OAD EOF eR TR OCA Top IP ROE BC HPEEOOR DER
research and consider and the remaining portion of the settlement is still being considered by EMC. [hope that EMC will
have a response very soon, but [ do not think that will be today. | will let everyone know as soon as EMC has a response.

Thanks,
Andrew

  

a ; Anrlrew A. Freeman Main: 236.722.3700 106 N, Cherry Street, Suite Goo '
be i Direct: 336.714.4156 Winston-Salem, NC 27101
Bell - Davis + Pitt Fax: 396.722.8153 P.O. Box 31020 .

afreernan @belldarispitt.com worn belldavispitt.com Winston-Salem, NC 27120

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the communication and prampth notify the sender or contact our postmaster at postmaster@belldavispitt.com . Thank

you for your cooperation.

From: Stacy Williarns [mallto:Stacy@collumperry.com]
Sent: Monday, October 15, 2012 12:46 PM

To: Stacy Williams; William H. Freeman

Cc: Freeman, Andrew A.; Ruley, Alan Mv Travis Collum
Subject: RE: Lacey v. EMC

Andrew,

Please confirm today whether or not EMC is agreeing to the settlement. We need te move forward with this claim. if
this is not resolved this year, the Lacey’s will not be able to take advantage of the Mortgage Reduction Act of 2007 to

write Gif the discharged debt. Thank you for your assistance.

Stacy L. Williams
Of-Counsel

 

 

 

 

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From: Stacy Williams

Sent: Tuesday, October 09, 2012 9:54 AM
To: ‘William H. Freeman’

Cex Freeman, Andrew A.’; 'Ruley, Alan M.'
Subject: Lacey v. EMC

Judge Freeman:

Thank you again for mediating this matter last Monday and we hope there is soon resolution in this claim. As mentioned
at the mediation, the parties agreed to the following dates:

* October 11, 2012 Deadline for confirmation that EMC will settle for $100,000 and Mr. and Mrs. Lacey will

own the house free of EMC lien.
October 25, 2012 Deadline for having Settlement Agreement forwarded to the Plaintlf’s for signatures

2
* November 26,2012 Deadline for monies to be disbursed and mortgage satisfied of record.

We also agreed that if the above deadlines are not honored then we will contact you to set an arbitration date as soon
as possible. .

Stacy L Williams
Of-Counsel

 

 

 

“EAB FH
AAT E*

 

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- Freeman, ew A.
From: Travis Collum [Travis@collurperry com]
Sent Thursday, October 18, 2012 1:00 PM
To: Freeman, Andrew A; Stacy Williams; Rutey, Alan M.
Be: wireeman@iriad.tr.com
Subject: Lacey v, EMC
Andrew:

Since the deadline for circulating a proposed settlernent agreement is only a week out do you mind sending over a draft
for our markup?

I'd rather not get further behind schedule.
Thanks

Travis E. Collum

 

 

 

 

  

  

 

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Freeman, Andrew

 

Fromm: Stacy Williams [Stacy@collumperry.com]

Sent: - Friday, October 26, 2012 10:05 AM

To: Freeman, Andrew A.

Subject: RE: Lacey v. EMC

That ts fine... what about us filing the dismissat within 10 days of receipt of the check? If that is good.....then serd us the

Agreement to have everyone sign.

From: Freeman, Andrew A. [mailto:AFreemsn@belidavispitt.com]
Sents Thursday, October 25, 2012 1:46 PM
To: Freeman, Andrew A.; Travis Collum; Stacy Williams; Ruley, Alan M.

Ce; William H. Freeman
Subject: RE: Lacey v. EMC

Stacy: ;
My cliant will need a W-9 from each party on the check, so if you want to add your law firm in addition to the two

plaintiffs on the check then a W-S will be needed from all three. is that acceptable? Do you have any additional
comments regarding the draft settlement agreement?

Thanks,
Andrew

From: Freeman, Andrew A.
Sent: Monday, October 22, 2012 11:22 AM
To: Freeman, Andrew A.; Travis Collum; Stacy Williams; Ruley, Alan M.

Cc: William H. Freernan
Subject: RE: Lacey vy, EMC

Stacy:
Thank you for your telephone call. | have passed your proposed changes to the agreement regarding the timeline for

dismissal and the W-9 issue on to my client fer consideration and will tet you know when | geta response. Also, lam not
sure what the totaj] mediator’s bill Is so far, but my client is willing to pay the first $3,000 of the bill as a part of this
seitlement agreement. [ will let you know when | get response about your proposed changes.

’ Thanks,
Andrew

From: Freeman, Andrew A.
Sent: Monday, October 22, 2012 8:29 AM
To: Freeman, Andrew A.; Travis Callum; Stacy Williams; Ruley, Alan M.

Ccz William H. Freeman
Subject; RE: Lacey v. EMC

Travis and Stacy: |
EMC is willing to pay $100,000 and release your clients fram their obligations under the note to settle this matter and

obtain a release from your clients. Do you have any commenis on the draft settlemant agreement?

Thanks,
Andrew

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| FromO@ihDiehTAAL - PRODUCED PURSUANT TO PROTECTIVE ORDER
_ Sant: Thursday, October 18, 2012 5:23 PM

To: Travis Collum; Stacy Willams; Ruley, Alan M,

Ce! Willfam H, Freeman

Subject: Lacey v. EMC

Travis:
As requested, attached is a draft written agreement for you to review, which Is being sent prior to any agreement being

reached by the parties. My client is still considering the potential settlement and should have a response soon. { will let
you know once my client has a response to the potential settlement.

 

Thanks,
Andrew
oa : Andrew A. Freeman Main: 996.722.3700 400 N. Cherry Street, Suite 600
, bs 2 Direct: 336.714.4156 ‘Winston-Salem, NC 27101
Bell * Davis + Pitt Fax; 936.722.8153 P.O. Box 21020
afreeman @belldavispitt.com www, belidavispitt.com Winston-Salem, NC 27120

 

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CONT IDENTIAL - PRODUCED PURSUANT TO PROTECTIVE ORDER

Freeman, ew

 

Freeman, Andrew A.

From:

Sent: Wednesday, October 31, 2012 8:22 AM

To: Stacy Williams; Travis Collum

Cc, Ruley, Alan M.

Subject: Lacey v. EMG ~ settlement agreement
DOCS-#577050-v2-Lacey_v__EMC_-_draft_setilament_agreement-c. pdf

Attachments:

Stacy and Travis:

Attached is the final version of the settlernent agreement. My client has also agreed to your request regarding the
timing of the dismissal. Please have your clients execute the attached agreamant and return it to me. Please also have
your clients and Collum & Perry, PLLC execute W-9s and send them to me. After receiving the signed agreement and W-
9s my clent will make the payment as set forth in the agreement and will also return to you a fully executed copy of the
settlement agreement. Thank you for your patience in waiting for a respanse on your proposed changes to the

agreement.

Best,
Andrew

100 N. Cherry Sizeet, Suite 600

 

. Andrew A. Freeman Main: 336.722.3700
Direch 336.714.4156 Winston-Salem, NC 27101
Beil » Davis » Pitt Fax: 336.722.8158 P.O. Box 21029
afreeman@belidavisniltt.com www. belldavispithsom Winston-Salem, NC 27120

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SETTLEMENT AGREEMENT AND RELEASE

This Settlement Agreement and Release (the “Agreement”) is made and ontered into this
the 1" day of November, 2012, by and between Matthew J. Lacey and Melissa A. Lacey a/k/a
Melissa A. Heinze a/k/a Melissa A. Smith (collectively “Plaintiffs”) and EMC Mortgage
Corporation, Bank of America, National Association, as successor by merger to LaSalle Bank
National Association, as Trustee for certificate holders of Bear Stearns Asset Backed Securities,
Inc., Asset Backed Certificates, Series 2004-1, and JPMorgan Chase Bank, National Association
(collectively “Chase”). |

WHEREAS, the parties to this Agreement are parties to a dispute that was initiated by the
Plaintiffs filing a lawsuit styled Matthew J. Lacey and wife, Melissa J. Lacey alka Melissa J.
Heinze a/k/a Melissa A, Smith v. EMC Morigase Corpotation, a Delaware Corporation, Bank of
America, National Association. as successor by mercer to LaSalle Bank National Association, as
(Trustee) for certificate holders of Bear Stearns Asset) Backed Securities. Inc., Asset Backed
Certificates, Series 2004-1 (Holder) David A. Simpson. (Substitute Trustee); Does 1 through

100. inclusive, General Court of Justice, Supericr Court Division, Alexander County, North

 

. Carolina, Case No. 10 CVS 596, which was removed to the United States District Court for the
Western District of North Carolina, Statesville Division, Civil Action No. 5:10-CV-173, which
was subsequently compelled to arbitration and is currently pending in arbitration before the
Honorable William H. Freeman, such dispute being referred to herein as the “Lawsuit.”

WHEREAS, the parties have agreed fo compromise and resolve all the claims,
counterclaims, and defenses asserted against each other in the Lawsuit, and accordingly enter
into this Agreement to accomplish their joint goal of settling and resolving all claims,
counterclaims, and defenses between them.

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NOW THEREFORE, in consideration of the recitals and the mutual obligations

contained in this Agreement, the receipt and sufficiency of which are hereby acknowledged, and
‘intending to be legally bound, the parties agree as follows:

1. Dismissal of the Lawsuit: Subject to the conditions set forth herein, Plaintifis
agree that they. will not further pursue any claims in contract, tort or otherwise arising out of the
allegations of the Lawsuit, and that Plaintiffs are contemporaneously herewith executing to
Chase a release, such release being set forth in paragraph 3 below. Within ten (10) days after
execution of this Agreement by all parties and Payment by Chase as set forth in Paragraph 2
below, Plaintiffs shall dismiss, with prejudice, all claims currently pending in the Lawsuit against
Chase; including their claims in Civil Action No. 5:10-CV-173. Also, subject to the conditions
set forth herein, Chase agrees that it will not futher pursue any claims in contract, tort or
otherwise arising out of the allegations set forth in the counterclaim that Chase has asserted in
the Lawsuit, and that Chase is contemporaneously herewith executing to Plaintiffs a release, such
release being set forth in paragraph 2 below. Upon execution of this Agreement by all parties,
and Plaintiffs’ dismissal of all claims asserted against Chase in the Lawsuit, Chase shall dismiss,
with prejudice, all counterclaims currently pending in the Lawsuit against Plaintiffs.

2. Payment to Pisintiffs and Release by Chase: Within 21 days of Chase
receiving both a copy of this Agreement executed by all parties and W-9s completed by
Plaintiffs and Collum & Perry, PLLC, Chase agrees to pay Plaintiffs one hundred thousand
doliars ($100,000.00). Payment of the $100,000.00 will be made by having a check made -
payabie to Matthew J. Lacey, Melissa A. Lacey, and Collum & Perry, PLLC mailed to Plaintiffs’
counsel, Travis E, Colinm, P.O. Box 1739 Mooresville, NC 28115. Additionally, within 21 days

| of Chase receiving both a copy of this Agreement executed by all parties and W-9s completed by -
Plaintiffs and Collum & Perry, PLLC, Chase agrees to release and forever discharge Plaintiffs

from all of the obligations evidenced in that cerfain promissory note dated January 30, 1997
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executed and delivered by Plaintiffs to Unicor Mortgage, Inc, and all amendments thereto (the

Note”) and, in furtherance of such release Chase will, within the same time period, cause to be
filed with the Alexander County Register of Deeds a Notice of Satisfaction of the Deed of Trust
securing the Note that is recorded in Book 379 at Page 2393, in the Office of the Register of
Deeds for Alexander County, North Carolina.

3. Release of Chase: Except for the obligations evidenced by this Agreement, and
effective upon the execution by all parties to this Agresment, Plaintiffs hereby release and
forever discharge Chase, its agents, attorneys, accountants, employees, successors, predecessors,
heits, assigns, and all persons or entities who are or might be liable, of and from any and all
claims of any kind or character that Plaintiffs, or either of them, have or might have against
Chase, whether known or unknown, including but not limited fo all claims, counterclaims,

- grossclaims, actions, obligations, causes of action, or demands for breach of contract, torts,
statutory violations, indemnification, contribution, damages, costs, penalties, expenses,
attorneys’ fees, exemplary, treble or punitive damages, legal or equitable relief, or anything else
whatsoever, arising out of the facts, transactions, circumstances and occurrences relating to the
Lawsuit,

4, Severability: This Agreement is intended to be performed in accordance with,
and only to the extent permitted by, all applicable laws, ordinances, rules and regulations. Hf any
provision of this Agreement, or the application thereof to any person ot circumstance, shall for
any reason and to any extent be invalid or unenforceable, but the extent of the invalidity or
unenforceability does not destroy the basis of the bargain between the parties as contained
herein, the remainder of this Agreement and the application of such provision to other persons or

sitcumstances shall not be affected thereby, but rather shall be construed and enforced to the

fullest extent permitted by law.

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No Admission of Liability: It is understood by the parties to this Agreement

4S.
that each of the parties has denied and still denies that it engaged in any inappropriate conduct
and further denies Liability on the merits of all claims asserted in the Lawsuit, and that this
Agreement is entered into purely as a compromise of disputed matters for the purpose of
avoiding the uncertainty and further costs of arbitration. The settlement of these matiers and the
obligations created by this Agreement are not, and shall not be construed as, an admission of
liability of any of the parties or any other person. or entity on any claim, whether or not asserted
in the Lawsuit.

6. Costs, Expenses and Attorneys’ Fees: Chase agrees to pay the first $3,000.00
of the amount owed to the Honorable William H. Freeman for his services as mediator and
arbitrator in this matter, and, if such amount exceeds $3,000.00, Plaintiffs agree to pay all other
amounts owed to the Honorable William H. Freeman. Otherwise, each party shall bear its own
costs, expenses and attorneys’ fees incurred in connection with the Lawsuit, its settlement and
this Agreement.

7. Confidentiality: The parties agree that they will keep this Agreement and its
terms confidential, except as necessary for tax reporting, responding to inquiries by government
agencies or officials, or other legal and regulatory compliance. If inquiry is made, the parties
shall simply respond in substance that the Lawsuit was resolved.

8. No Representations as to Effect of Agreement: The parties represent and
acknowledge that in executing this Agreement, no adverse party nor any of its representatives,
agents or attorneys have made any representations with respect to the tax or legal consequences
of any payments required to be made hereunder. The parties further represent and agree that
they have: (I) been afforded full opportimity to discuss all aspects of this Agreement with legal

counsel, accountants, tax advisors and/or financial advisors of their own choosing; Q) carefully

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yead and fully understand all of the provisions of this Agreement; and (3) voluntarily and
knowingly sign this Agreement and documents attached hereto.

9, No Other Promises or Inducements: Each party represents and warrants
that there have been no inducements, representations or agreements from the other causing,
affecting, or in connection with this Agreement or the transactions contemplated heteby, except
as expressly set forth in writing in this Agreement. Each party has undertaken such independent
investigation and evaluation as they deem appropriate with respect to this Agreement.

10. Consideration Acknowledged: The parties acknowledge that the covenants
contained in this Agreement provide good and sufficient consideration for every promise, duty,
release, obligation and right contained in this Agreement.

li, General Terms:

(a) This Agreement shall be binding upon the parties heretd, their personal
representatives, heirs, successors, and assigns.

(b) This Agreement shall be governed by and interpreted in accordance with
the laws of the State of North Carolina.

(c}) The parties covenant and agree that this Agreement contains the entire
agreement between the parties hereto, that the terms hereof are contractual
and not a mere recital, and that the performance of each and every term of
the Agreement is an express condition to the performance of each and
every other term. No provision in this Agreement may be amended or
added to, except by an agreement in writing signed by the patties hereto or
their respective successors in interest,

(d) This Agreement is the result of negotiations between the parties and shall

be considered as being mutually drafted by the parties.

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(e) This Agreement mal be executed in two or more counterparts, transmitted
by facsimile or otherwise, each of which shall be deerned an original, and
all of which together shall constitute a single instrument.

® Ail titles, headings and captions used in this Agreement are intended for
administrative convenience only and do not constitute matters to be

construed in interpreting this Agreement.

. IN WETNESS WHEREOF, the parties have duly acknowledged this Settlement

Agreement and Release as of the day and year first written above.

THIS SPACE INTENTIONALLY LEFT BLANK
SIGNATURES ON FOLLOWING PAGE

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)

 

 
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MATTHEW J. LACEY

 

Matthew J. Lacey
Date:

STATE OF NORTH CAROLINA
COUNTY OF

Signed and sworn to (or affirmed) before me this day by

 

 

 

 

 

 

Date:
Official Signature of Notary
(Official Seal)
Notary’s printed or typed name, Notary Public
My commission expires:
MELISSA A. LACEY a/k/a MELISSA A. HEINZE a/k/a
MELISSA A. SMITH
Melissa A. Lacey
Date:
STATE OF NORTH CAROLINA
COUNTY OF
Signed and sworn to (or affirmed) before me this day by
Date:
Official] Signature of Notary
(Official Seal) !
Notary’s printed or typed name, Notary Public

My commission expires:

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JPMORGAN CHASE BANE, National Association.

 

TPMorgan Chase Bank, National Association
By:
Title:
Date:

STATE OF
COUNTY OF

Signed and sworn to (or affirmed) before me this day by

 

Date:

 

 

Official Signature of Notary
(Official Seal)
Notary’s printed or typed name, Notaty Public
My commission expires:
Page 8 of 8

' ~~Case 3:15-cv-00544-FDW-DSC Document 36-3 Filed 12/29/16 Page 20 of 21

 

 
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Freeman, Andrew A.

From: Stacy Williams [Stacy@collumperry.com]
Sent Tuesday, November 13, 2012 4:48 PM
To: Freeman, Andrew A.

Subject RE; Lacey v. EMC - setilement agreement

Andrew:

Sorry for the defay....Mr. Lacey is on the road and will not be back until after Thanksgiving. He has been hauling a Jot to
the Northeast. We are now working on the Jogistics of getting his signature. | will keep you posted. Thank you.

Stacy

From: Freeman, Andrew A, [mailto:AFreeman@belldavispitt.com]
Sent: Wednesday, October 31, 2012 8722 AM ‘
Ta: Stacy Willfams; Travis Collum

Co: Ruley, Alan M.
Subject: Lacey v. EMC - settlement agreernent

Stacy and Travis:

Attached is the final version of the settlement agreement, My client has also agreed to your request regarding the
timing of the dismissal, Please have your clients execute the attached agreement and return it to me. Please also have
your clients and Collum & Perry, PLLC execute W-9s and send them to me, After receiving the signed agreement and W-
9s my client will make the payment as set forth in the agreement and will also return to you a fully executed copy of the
settlement agreement. Thank you for your patience in waiting for a response on your proposed changes ta the

agreement.
Best,
Andrew
Fe: Andrew A. Freeman Main: 396.722.3700 160 N. Cherry Street, Suite 600
HE Direct: 936.714.4156 ~ Winston-Salem, NO 27101
Bell - Davis » Pitt Fax: 336.722.8153 P.O, Box 21029
afreeman@belldavisuiti.com ww. belidavisniitcom Winston-Salem, NC 27120

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deliver this email to the intended recipient, you are hereby notified that any dissemination, distribution or copying of
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the communication and prompily notify the sender or contact oar postmaster at poshmaster@belidavispitt.com . Thank

ou for your cooperation.

 

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